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                            Exhibit 48
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   Alexey *XEDUHYKDVDFTXLUHGWKH5XVVLDQKRVWHU8QLILHGQHWZRUN ȿɯɟptɨ
   August 26th, 2015 at 4:01pm
   Reader Roem.ru

   Developments: Alexey Gubarev has launched the hosting Servers.ru in Russia | January 28, 2016)
     The hosting provider Servers.com announced the acquisition of the company "Unified
     1HWZRUNLQRUGHUWRODXQFKORFDOYHUVLRQVRIɏȼɌcom services with the observance of the
     legislative norms of the Russian Federation. The deal value amounted to $800,000 according
     to CNews LQɏȼɌHolding SȺ.
     It is expected that this step will reduce the network expenses when working with the resource
     Servers.com and will completely eliminate the geopolitical factor.
     "We have been looking for a local player who could fully meet the set goals for a long time.
     The LCC "Unified network" will become the foundation for the development of international
     potential in the Russian market," said Alexey Gubarev, CEO of ɏȼɌFRP. "This is a
     successful transaction that will provide our customers with new opportunities and will allow us
     to launch our product Servers.com in Russia under the brand Servers.ru till the end of 2015".


                          Servers.com has acquired "Unified network" for $800,000.
           LOGO           7KHLQWHUQDWLRQDOKROGLQJɏȼɌHolding S.A., represented by the hosting
                          provider Servers.com, announced the acquisition of the company "Unified
                          1HWZRUNWRODXQFKORFDOYHUVLRQVRIɏȼɌcom services in compliance
                          with the laws of the Russian Federation. The deal value amounted to

   The link was prompted by the user. Add your links.


   4XLFNVHDUFKȿɯɟɪɬɨServers, Alexey Gubarev, Data Centers, Unified Network, Hardware,
   Purchase / Sale, Hosting.

   Share                                                                       Discuss
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